                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                              Case No. 13-40987
CARL McKINNEY,
                                                              Chapter 13
         Debtor.
                                                              Judge Thomas J. Tucker

                                                 /

CARL McKINNEY,

                        Plaintiff,

vs.                                                           Adv. Pro. No. 13-4266

JP MORGAN CHASE BANK,

                        Defendant.
                                               /

                                        TRIAL OPINION

I. Introduction

         In this adversary proceeding, Plaintiff Carl McKinney (“Plaintiff”), who is the Debtor in a

pending Chapter 13 bankruptcy case, seeks a judgment determining that in his proposed Chapter

13 plan, he may treat as a wholly unsecured claim the claim of the Defendant JP Morgan Chase

Bank (“Defendant”). Defendant’s claim against Plaintiff is secured by a second mortgage on

Plaintiff’s home, located at 5303 Boomerang Circle, Newport, Michigan (the “Property”).

Plaintiff alleges that as of the bankruptcy petition date, the value of the Property was less than the

balance owing on the first mortgage on the Property. Defendant disputes this.

         The Court held a bench trial on July 23, 2013, then took this adversary proceeding under

advisement. The Court has considered all of the arguments and evidence presented by the




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parties. This opinion states the Court’s findings of fact and conclusions of law.

        For the reasons stated in this opinion, the Court finds for the Defendant, and will enter a

judgment in Defendant’s favor.

II. Background

        Most of the facts are undisputed. To begin with, the parties have stipulated to the

following facts, as stated in the Final Pretrial Order, filed July 8, 2013:

        a.         Plaintiff’s principal residence is located at 5303 Boomerang Cir.,
                   Newport, MI 48166.

        b.         Federal National Mortgage Association holds the first priority
                   mortgage on Plaintiff’s personal residence, and at the time of filing,
                   the balance owing on the loan was $197,946.26.

        c.         Defendant holds the second priority mortgage on Plaintiff’s personal
                   residence, and at the time of filing of the bankruptcy case, the balance
                   owing on the loan secured by the mortgage was $31,681.92.1

        In Plaintiff’s amended Chapter 13 plan, filed on April 26, 2013, Plaintiff proposes to treat

Defendant’s claim as a wholly unsecured claim.2 The Plan thus proposes to treat Defendant’s

claim as all other general unsecured claims, in Class Nine, by paying a minimum dividend of 0%

of the allowed claim, with no interest, over the life of the Plaintiff’s 60-month Plan.3

        As the issue has been framed by the parties, Plaintiff had the burden at trial of proving,

by a preponderance of the evidence, that the value of the Property as of the January 18, 2013

        1
             Final Pretrial Order (Docket # 16) at 2-3, ¶ 4.
        2
             See Amended Chapter 13 Plan (Docket # 53 in Case No. 13-40987, the “Plan”) at 3 § III.C.
        3
          See id. at 5-6, § III.I (under “Class Nine”), which states that “General Unsecured Claims” will
be paid the “Unsecured Base Amount,” which is defined as $0 in this case, see id. at Attachment I, or that
the Plan:
                will continue for the full Plan Length . . ., which ever yields the greater
                payment to Class 9 Unsecured Creditors.

                                                        2



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petition date was equal to or less than the balance owing on the first mortgage debt (held by

Federal National Mortgage Association) as of the petition date, which as the parties have

stipulated, was $197,946.26. See generally 11 U.S.C. §§ 506(a)(1) and 506(d); Lane v. Western

Interstate Bancorp, 280 F.3d 663 (6th Cir. 2002). If Plaintiff met that burden at trial, he must

prevail in this adversary proceeding. If Plaintiff did not meet that burden, then Defendant must

prevail.

III. Jurisdiction

        This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a)(E.D. Mich.). This is a core

proceeding under 28 U.S.C. §§ 157(b)(2)(K), 157(b)(2)(L), and 157(b)(2)(O).4

        This proceeding also is “core” because it falls within the definition of a proceeding

“arising under title 11” and of a proceeding “arising in” a case under title 11, within the meaning

of 28 U.S.C. § 1334(b). Matters falling within either of these categories in § 1334(b) are deemed

to be core proceedings. See Allard v. Coenen (In re Trans-Industries, Inc.), 419 B.R. 21, 27

(Bankr. E.D. Mich. 2009). This is a proceeding “arising under title 11” because it is “created or

determined by a statutory provision of title 11,” see id., including Bankruptcy Code § 506. And

this is a proceeding “arising in” a case under title 11, because it is a proceeding that “by [its] very

nature, could arise only in bankruptcy cases.” See id. at 27.

IV. Discussion

        The Court begins by noting that in the absence of any recent, actual arms-length sale of



        4
         The parties have agreed that this Court has subject matter jurisdiction, and that this is a core
proceeding. See Final Pretrial Order at 1.

                                                     3



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the Property, determining the value of the Property is not something that can be done with any

sort of scientific precision or certainty. It necessarily involves some uncertainty. But the

Plaintiff need not prove the value of the Property with certainty, or beyond a reasonable doubt.

He merely needs to prove it by a preponderance of the evidence.

        The Court has considered all of the arguments and evidence presented at trial. The trial

evidence consisted of Plaintiff’s Exhibits 1 and 2; Defendant’s Exhibits A through C;5 and the

testimony of two witnesses: Plaintiff himself, and Defendant’s appraiser, Sheri L. Mykolaitis.

Plaintiff’s appraiser, Chris Jaciuk, failed to appear for trial, and Plaintiff proceeded to trial

without his testimony. The Court has considered Mr. Jaciuk’s written appraisal report, however,

as discussed below.

        Based on the evidence presented, the Court finds and concludes that Plaintiff has not met

his burden of proof, and that as of the January 18, 2013 petition date, the value of the Property

was more than $197,946.26 (and therefore more than the balance owing on the first mortgage).

The Court further finds and concludes that the value of the Property as of the petition date was

$210,000.00.

        In making its findings and conclusions about the value of the Property, the Court relies

heavily on its review of the testimony of the Defendant’s appraiser, Ms. Mykolaitis, and the

detailed appraisal reports of each party’s appraiser (Plaintiff’s Exhibit 1 and Defendant’s Exhibit

B).6 Each appraiser used the same basic method for appraising the Property — each used the


        5
           Sometimes in this opinion, the Court will cite the exhibits using this format: “PX-_” for a
Plaintiff’s exhibit; and “DX-__” for a Defendant’s exhibit.
        6
         Plaintiff Carl McKinney also testified to some extent regarding value. He testified that he
purchased the Property about 8 years ago for “around” $218,000, and that he was the first owner of the

                                                     4



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sales comparison approach.7 Plaintiff’s appraiser Mr. Jaciuk opined in his report that the value of

the Property was $180,000.00 as of April 4, 2013, the effective date of his appraisal.

Defendant’s appraiser Ms. Mykolaitis opined that the value of the Property was $210,000.00 as

of May 30, 2013 (the date of her appraisal) and also as of the petition date.

        To support their opinions, each appraiser presented detailed information in his/her report

about several sales that occurred during 2012 and 2013, of comparable other properties in the

vicinity of the subject Property. As to each such comparable sale, each appraiser took the sale

price of the property and made upward and downward adjustments to the sale price, to account

for differences between the comparable property and Property at issue in this case. For each

comparable, that exercise yielded an adjusted sale price, which then was considered in

determining the value of the subject Property.



home. He also testified that the home is in good shape and needs no major repairs. He further testified
that he reviewed his appraiser’s report, PX-1, and believes it is a fair assessment of the Property’s value.
Finally, Plaintiff testified regarding the listing prices of two other homes in his neighborhood that he
feels are similar to his Property.

        The Court gives little weight to Plaintiff’s testimony regarding value, because Plaintiff did not
prove that he has any expertise in valuing residential properties, and because his testimony was rather
vague. The Court gives far more weight to the evidence from the appraisers, discussed in this opinion
below.
        7
           Each expert’s appraisal report also discusses, briefly, value based on a “cost approach,” see
PX-1, fifth page; DX-B, seventh page, and Ms. Mykolaitis briefly mentioned the cost approach in her
testimony. But neither Ms. Mykolaitis nor any other witness presented any evidence describing this
valuation method in any detail, or tending to show that it is a reliable method of valuation of the Property
in this case. Nor do the appraisal reports show this. Rather, Ms. Mykolaitis’s report states that she
considers the cost approach “to be less reliable than the market approach.” DX-B, ninth page. For these
reasons, the Court gives the meager evidence regarding the cost approach no weight in determining the
value of the Property in this case.

       Similarly, the Court gives no weight to the Property’s “State Equalized Value,” see PX-2. The
evidence at trial did not demonstrate that this source is a reliable indicator of the value of the Property at
issue.

                                                      5



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        The following table lists the sale price and adjusted sale price, and limited other

information, for each comparable sale used by the appraisers in this case.8 There were two

comparable sales that were used by both of the appraisers, as indicated in the table below.

       Chris Jaciuk (did not testify)                                     Sheri L. Mykolaitis
      Plaintiff's Appraiser (PX-1)                           Defendant's Appraiser (DX-B)
        opinion of value: $180,000                               opinion of value: $210,000
                           Comps:                                                   Comps:

                               Sale 2                                                   Sale 1
              5350 Bommerang Cir                                                5405 Spitfire
                       Newport, M I                                             Newport, M I
                           sale price   $178,000                                    sale price    $197,600
     date of sale             8/8/12                             date of sale         4/11/13
                  adjusted sale price   $171,500                           adjusted sale price    $204,100

                              Sale 4                                                    Sale 2
                  4420 Patridge Ln                                      4085 Bayview Circle
                      Newport, M I                                              Newport, M I
                          sale price    $159,000                                    sale price    $217,000
    date of sale            1/16/13                             date of sale         11/19/12
                 adjusted sale price    $174,400                           adjusted sale price    $208,500

                                                                                        Sale 3
                                                                              4511 Burke Rd
                                                                                Newport, M I
                                                                                    sale price    $223,000
                                                                 date of sale         5/17/13
                                                                           adjusted sale price    $219,000

           Sale 3 (same property as                         Sale 4 (same property as Jaciuk's
                Mykolaitis's Sale 4)                                                   Sale 3)
               5448 Marshall Field                                       5448 Marshall Field
                      Newport, M I                                              Newport, M I
                          sale price    $185,000                                    sale price    $185,000
  date of sale             12/26/12                             date of sale         11/11/12
                 adjusted sale price    $179,000                           adjusted sale price    $204,500


        8
           This table does not list the one comparable property in Ms. Mykolaitis’s report that was merely
an active listing, rather than an actual sale – the property at 5417 Marshall Field Drive, Newport,
Michigan. The Court has disregarded the evidence about that property, because it merely involves an
owner’s asking price, rather than an actual sale of a property.

        In addition, the table above does not list all of the specific adjustments or other information in
the appraisal reports about these comparable sales/properties, although the Court considered all such
information in making its decision.

                                                   6



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           Sale 1 (same property as                      Sale 5 (same property as Jaciuk's
                Mykolaitis's Sale 5)                                                 Sale 1)
                    5522 Spitfire Ct                                       5522 Spitfire Ct
                      Newport, M I                                            Newport, M I
                         sale price    $234,900                                   sale price    $234,900
  date of sale             11/30/12                         date of sale           11/29/12
                 adjusted sale price   $208,900                          adjusted sale price    $220,900

                                                                                      Sale 6
                                                                       4300 Bay W est Dr.
                                                                              Newport, M I
                                                                                  sale price    $229,000
                                                            date of sale           02/25/13
                                                                         adjusted sale price    $224,500



        In considering these comparable sales, the Court notes the following. Of the six

comparable sales used by Defendant’s appraiser Ms. Mykolaitis, her adjusted sale prices range

from $204,100 to $224,500, and the average of these six adjusted sale prices is $213,583. All of

these sales are close in time to the January 18, 2013 petition date; the sale dates range from

November 11, 2012 at the earliest to May 17, 2013 at the latest, a date range that is from about

two months before the petition date to about four months after the petition date. As Ms.

Mykolaitis’s testimony and report showed, all six of these comparable sale properties are located

very close to the subject Property. Their locations range from .17 miles away (Sale 4) to .93 miles

away (Sale 3) from the subject Property. And Ms. Mykolaitis testified that three of her six

comparable sale properties are actually located in the same subdivision as the subject Property

(Sales 1, 4, and 5).

        Of the two comparable sale properties that were used by both appraisers, (Ms.

Mykolaitis’s Sales 4 and 5), Plaintiff’s appraiser Mr. Jaciuk in his report made different

adjustments than Ms. Mykolaitis, to arrive at lower adjusted sale prices. But no evidence was



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presented at trial or in Mr. Jaciuk’s report to show or explain why Jaciuk’s adjustments were

correct and Mykolaitis’s adjustments were not. No evidence was presented explaining why there

was anything wrong or inappropriate in the adjustments, and adjusted sale prices, arrived at by

Ms. Mykolaitis.9 Because Plaintiff bears the burden of proof in this case on the issue of value,

Plaintiff’s failure to present any such evidence against Ms. Mykolaitis’s adjustments is an

important lack of proof by Plaintiff. And of the two comparable sales common to both appraisers,

even Mr. Jaciuk calculated an adjusted sale price for one of them (Jaciuk’s Sale 5) of $208,900.

This value is substantially higher than the $197,946 balance owing on the first mortgage on

Plaintiff’s Property.

        The Court finds, based on Ms. Mykolaitis’s report and on her testimony, that the six

comparable sale properties used by Ms. Mykolaitis in her appraisal are indeed comparable to the

subject Property, and that the adjustments Ms. Mykolaitis made to arrive at her adjusted sale

prices for these six properties were appropriate and warranted, so that her adjusted sale prices are

also appropriate and warranted.

        Even if the Court accepts all of Mr. Jaciuk’s adjusted sale prices for the four comparable

sales he used, including for the two properties that were also used by Ms. Mykolaitis, the evidence

still weighs against Plaintiff’s claimed value for the subject Property. Thus, assume for the sake

of discussion that the Court gives Plaintiff the benefit of Jaciuk’s lower adjusted sale prices for

the two properties that both he and Ms. Mykolaitis used, rather than Ms. Mykolaitis’s higher

adjusted sale prices for these two properties. Using Jaciuk’s four adjusted sale prices, and also



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          As noted above, Mr. Jaciuk did not testify at trial, so the Court did not have the benefit of his
testimony. But the Court has considered his written report, PX-1.

                                                      8



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using the adjusted sale prices used by Ms. Mykolaitis for the four properties that she used but

Jaciuk did not use, the average adjusted sale price for those eight comparable sales is

$198,737.50.10 That value still exceeds the $197,946 balance owing on the first mortgage on

Plaintiff’s Property.

        It is fair to point out that three of the four comparable sales used by Plaintiff’s appraiser

Mr. Jaciuk, standing alone, do tend to support a value of about $180,000 for the Plaintiff’s

Property. But the fourth comparable sale used by Mr. Jaciuk (his Sale 1) tends to show a much

higher value — approximately $209,000. When this evidence is considered with Ms.

Mykolaitis’s adjusted sale prices for the sales of the six comparable properties she used, overall

the evidence weighs strongly against a value for Plaintiff’s Property as low as $197,946. In other

words, Plaintiff has failed to meet his burden of proving, by a preponderance of the evidence, that

the value of his Property is less than or equal to the $197,946 balance owing on the first mortgage.

Rather, the preponderance of the evidence is that the value of Plaintiff’s Property is substantially

more than $197,946.

        Based on the evidence presented at trial, the Court finds that the value of the Plaintiff’s

Property as of the petition date was $210,000, as Defendant’s appraiser Ms. Mykolaitis opined.

This, of course, is substantially more than the $197,946 balance that Plaintiff owed on his first

mortgage loan as of the petition date.




        10
            The calculation is this: First, the Court adds (1) the total of the four adjusted sale prices in
Jaciuk’s appraisal report (Jaciuk’s Sales 1-4 in the chart above), which equals $733,800; plus (2) the total
of the four adjusted sale prices in Mykolaitis’s report for the other properties, used only by Mykolaitis,
(Mykolaitis Sales 1, 2, 3, and 6 in the chart above), which equals $856,100. Second, the Court takes the
total of (1) and (2), which equals $1,589,900, and divides that by 8, which equals $198,737.50.

                                                     9



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V. Conclusion

       Based on the findings of fact, conclusions of law, and the reasons stated in this opinion,

the Court will enter judgment for Defendant. Plaintiff has failed to met his burden of proof.

       The Court will prepare and enter an appropriate judgment, by separate document.


Signed on July 26, 2013                              /s/ Thomas J. Tucker
                                                     Thomas J. Tucker
                                                     United States Bankruptcy Judge




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